838 F.2d 466Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anthony M. LAURENCO, Plaintiff-Appellant,v.Otis R. BOWEN, Secretary, Department of Health and HumanServices, Defendant-Appellee.
    No. 87-2117.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 30, 1987.Decided Jan. 27, 1988.
    
      Anthony M. Laurenco, Appellant pro se.
      Larry David Adams, Assistant U.S. Attorney, for appellee.
      D.Md.
      AFFIRMED.
      Before K.K. HALL, SPROUSE, and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from that court's order granting the defendant's motion for summary judgment is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Laurenco v. Bowen, C/A No. 86-3346 (D.Md. June 8, 1987).  Appellant's motion for appointment of counsel is denied.
    
    
      2
      AFFIRMED.
    
    